              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 1 of
                                                      12

 Fill in this information to identify the case:

                      KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series
 Debtor name          Uvalde Ranch, KRISJENN RANCH, LLC, Series Pipeline Row

 United States Bankruptcy Court for the:
                       Western District of Texas, San Antonio Division

 Case number (if known):                 20-50805                                                                                           ✔ Check if this is an
                                                                                                                                            ❑
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑      Schedule H: Codebtors (Official Form 206H)

         ❑      A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑      Amended Schedule

         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑      Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on 04/29/2020
                          MM/ DD/ YYYY
                                                                                ✘ /s/ Larry Wright
                                                                                      Signature of individual signing on behalf of debtor


                                                                                      Larry Wright
                                                                                      Printed name


                                                                                       Manager
                                                                                      Position or relationship to debtor



Official Form B202                                     Declaration Under Penalty of Perjury for Non-Individual Debtors
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 2 of
                                                      12
 Fill in this information to identify the case:

                      KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series
 Debtor name          Uvalde Ranch, KRISJENN RANCH, LLC, Series Pipeline Row

 United States Bankruptcy Court for the:
                       Western District of Texas, San Antonio Division

 Case number (if known):                 20-50805                                                                                         ✔ Check if this is an
                                                                                                                                          ❑
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of account number
       3.1 First State Bank of Uvalde                                    Checking account                           9308                                      (Unknown)

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                                    $0.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑Yes. Fill in the information below.
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                               page 1
                20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 3 of
                                                        12
Debtor         KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                           Case number (if known)            20-50805
               KRISJENN RANCH, LLC, Series Pipeline Row
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ✔ No. Go to Part 4.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                    $0.00                  -                     $0.00                  = ...... ➔                                 $0.00
                                       face amount                                 doubtful or uncollectible accounts


         11b. Over 90 days old:                       $0.00                  -                     $0.00                  = ...... ➔                                 $0.00
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ❑No. Go to Part 5.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None




Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 4 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                    Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
         Describe:

         16.1 Promissory Note from Big Foot Energy Service, LLC                                                                                       $127,377.16


         16.2 Money Interpleaded in Bigfoot Energy Services, LLC Litigation                                                                            $95,532.00


  17.    Total of Part 4
                                                                                                                                                      $222,909.16
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.

  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 5 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                      Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name




 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ❑No. Go to Part 7.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                          Net book value of         Valuation method used      Current value of debtor's
                                                                                      debtor's interest         for current value          interest
                                                                                      (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         29.1 18 Angus Cows (plus calves)                                                      (Unknown)                                                 $30,000.00


         Additional Page Total - See continuation page for additional entries                                                                             $4,000.00

  30.    Farm machinery and equipment (Other than titled motor vehicles)

         30.1 2010 John Deer 110hp Tractor                                                     (Unknown)                                                 $35,000.00


  31.    Farm and fishing supplies, chemicals, and feed

         31.1 Deer Feed                                                                        (Unknown)                                                  $1,000.00


         Additional Page Total - See continuation page for additional entries                                                                             $1,000.00

  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                             $71,000.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ❑No
         ✔Yes
         ❑                       Book value        (Unknown)      Valuation method                        Current value       $1,000.00

                                 Book value        (Unknown)      Valuation method                        Current value       $1,000.00




Official Form 106A/B                                                            Schedule A/B: Property                                                    page 4
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 6 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                     Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name


  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ❑No
         ✔Yes
         ❑
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         None


  40.    Office fixtures

              19 Beds - $15,000, 4 Dressers - $1,000, 4 Dining Tables -                            (Unknown)                                            $29,000.00
              $3,000, 10 Lamps - $500, Linens - $500, 2 TV sets - $500,
              Miscellaneous kitchen ware - $500, Couches and Bar
         40.1 stools - $8,000


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         None


  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                        $29,000.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 7 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                    Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name




 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                           Net book value of      Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest      for current value          interest
         N-number)                                                                        (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         47.1 Ford / Ranch Truck                                                                  (Unknown)                                             $7,000.00


  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         50.1 Catapiller / Backhoe                                                                (Unknown)                                            $12,000.00


         Additional Page Total - See continuation page for additional entries                                                                           $4,500.00

  51.    Total of Part 8
                                                                                                                                                       $23,500.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ❑No. Go to Part 10.
         ✔Yes. Fill in the information below.
         ❑



Official Form 106A/B                                                             Schedule A/B: Property                                                 page 6
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 8 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                          Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

              KrissJen Ranch - Tract One: 842.63                 Fee Simple                        (Unknown)                                               $5,900,000.00
              Acres, Tract Two: 22.80 Acres, Tract
              Three: 30ft. Wide Easement to Tract
              One & Two, Tract Four: 122.65 Acres,
              Tract Five: 30 ft. Wide Easement to
         55.1 Tract Four


         55.2 Right of Way Easement                              Fee Simple                        (Unknown)                                               $9,500,000.00


  56.    Total of Part 9
                                                                                                                                                         $15,400,000.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                              Net book value of        Valuation method used       Current value of debtor's
                                                                                          debtor's interest        for current value           interest
                                                                                          (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         None


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None




Official Form 106A/B                                                              Schedule A/B: Property                                                      page 7
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 9 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                       Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


  66.    Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                            Current value of debtor's
                                                                                                                                            interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims



Official Form 106A/B                                                          Schedule A/B: Property                                                       page 8
             20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 10 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                Case number (if known)   20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

              Pipeline transverses through 3 Counties - Shelby, Rusk,                                                                   $500,000.00
         77.1 Nacogdoches and Angelina


         Other Property Total - See continuation page for entries                                                                               $0.00

  78.    Total of Part 11
                                                                                                                                        $500,000.00
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                          Schedule A/B: Property                                      page 9
              20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 11 of
                                                       12
Debtor         KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                                                    Case number (if known)    20-50805
               KRISJENN RANCH, LLC, Series Pipeline Row
              Name



 Part 12: Summary


         Type of property                                                                     Current value of                                Current value
                                                                                              personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                         $0.00

  81. Deposits and prepayments. Copy line 9, Part 2.


  82. Accounts receivable. Copy line 12, Part 3.


  83. Investments. Copy line 17, Part 4.                                                                       $222,909.16

  84. Inventory. Copy line 23, Part 5.


  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                 $71,000.00

  86. Office furniture, fixtures, and equipment; collectibles.
      Copy line 43, Part 7.                                                                                     $29,000.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                 $23,500.00


                                                                                                                                    ➔                     $15,400,000.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.


  90. All other assets. Copy line 78, Part 11.                                           +                     $500,000.00



  91. Total. Add lines 80 through 90 for each column......                           91a.                     $846,409.16        + 91b.                   $15,400,000.00



                                                                                                                                                                            $16,246,409.16
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                            page 10
             20-50805-rbk Doc#23 Filed 04/30/20 Entered 04/30/20 09:51:36 Main Document Pg 12 of
                                                      12
Debtor        KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Series Uvalde Ranch,                                  Case number (if known)            20-50805
              KRISJENN RANCH, LLC, Series Pipeline Row
             Name



          Additional Page


         General description                                                           Net book value of    Valuation method used      Current value of debtor's
                                                                                       debtor's interest    for current value          interest
                                                                                       (Where available)

  29. Farm animals - Continued

         29.2 1 Angus Bull                                                                      (Unknown)                                             $2,000.00

         29.3 1 Hereford Bull                                                                   (Unknown)                                             $2,000.00

         General description                                                           Net book value of    Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest    for current value          interest
         N-number)                                                                     (Where available)

  50. Other machinery, fixtures, and equipment - Continued

         50.2 Shredder                                                                          (Unknown)                                             $4,500.00


                                                                                                                                       Current value of debtor's
                                                                                                                                       interest

  77. Other property of any kind not already listed - Continued
         77.2 KrisJenn Ranch, LLC - Series Pipeline Row                                                                                             (Unknown)

         77.3 KrisJenn Ranch, LLC - Series Uvalde Ranch                                                                                             (Unknown)




Official Form 106A/B                                                             Schedule A/B: Property                                              page 11
